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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF KENTUCKY
                                CENTRAL DIVISION


PATRICIA LYNN CORNELIUS,                          )
Administratrix of the Estate of                   )
Joseph Glynn Fryer,                               )
                                                  )
       PLAINTIFF,                                 )
                                                  )
V.                                                )   CASE NO. 5:24-CV-00256-REW
                                                  )
MADISON COUNTY FISCAL COURT,                      )
et al.                                            )
                                                  )
DEFENDANTS.                                       )

           PLAINTIFF’S RESPONSE TO DEFENDANT MADISON COUNTY
           FISCAL COURT’S FED. R. CIV. P. 12(b)(6) MOTION TO DISMISS

       COMES NOW Plaintiff Patricia Lynn Cornelius, Administratrix of the Estate of Joseph

Glynn Fryer, by the undersigned counsel, and respectfully requests that this Honorable Court

DENY the Fed. R. Civ. P. 12(b)(6) Motion to Dismiss filed by Defendant Madison County Fiscal

Court and as a basis for such shows as follows:

                                  STATEMENT OF FACTS

       Joseph Glynn Fryer (hereafter “Fryer”) was booked into the Madison County Detention

Center on September 15, 2023 for a failed drug test, which was a probation violation. Compl. ¶59.

The Madison County Detention Center (hereafter “the Detention Center”) is a 184 bed facility with

an average daily population of over 500 inmates, which is nearly triple the facility’s capacity.

Compl. ¶25.

       Fryer was or became ill while incarcerated at the Detention Center and went to the

infirmary. Compl. ¶62. At that point Fryer was so sick he fell into a medical cart. Compl. ¶63.

Fryer’s condition deteriorated over a two day period which was exhibited by vomiting, labored
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breathing, and severe pain. Compl. ¶¶64, 65, 67. Yet at no time was Fryer evaluated by a physician

or provided medical treatment, and neither the Madison County Employees nor the WKCH

Employees did anything in response to Fryer’s vomiting and other physical manifestations of a

serious internal medical condition, despite their knowledge of his condition. Compl. ¶66, 70, 71,

72. Because of the lack of medical treatment for his condition, Fryer died on September 19, 2023

at the age of 45. Compl. ¶7, 75. The cause of death was determined to be a perforated duodenal

ulcer. Compl. ¶61.

       Defendant Madison County is charged with the responsibility of prescribing rules for the

government, security, safety, and cleanliness of the Detention Center and providing for the comfort

and treatment of inmates pursuant to Kentucky Revised Statute § 441.045(1). Compl. ¶14.

Defendant Madison County is statutorily charged with paying for the cost, up to the amount of

$1,000 per prisoner, of providing necessary medical, dental, and psychological care for indigent

county prisoners in the jail pursuant to Kentucky Revised Statute § 441.045(3)(7). Compl. ¶15.

       The constitutionally deficient conditions at the Detention Center have been public

knowledge since at least 2019 when Defendant Steve Tussey and John Tudor, a former member

of the Defendant Madison County Fiscal Court, spoke out publicly about the unsafe and

“dangerous” conditions. Compl. ¶24, n. 1. 1 In 2019 WYTM quoted Defendant Tussey, who is the

elected Madison County Jailer and a member of the Madison County Fiscal Court, as saying that

the overcrowding at the Detention Center is “too much,” and the facility is “not safe.” Compl. ¶18,

24, Id. In that same report, formal Fiscal Court member John Tudor similarly noted, “We are to

the point it is dangerous in the jail we are going to have to do something. Almost everyone I talk



1
  The article linked in footnote 1 of the Complaint is,
https://www.wymt.com/content/news/Madison-County-Detention-Center-faces-overcrowding-
issues-officials-say-it-is-unsafe---558046721.html
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to says its time to move forward.” Compl. n. 1. At that time the 184 bed Detention Center housed

413 inmates. Id. The ratio of inmates to deputies was 50-1. Id. Defendant Tussey and former

Fiscal Court member Tudor placed the blame for the problem squarely on Madison County and

called for the County to take steps to alleviate the problem. Id.

         Instead, Madison County has allowed conditions at the Detention Center to worsen.

Despite Defendant Tussey’s vow in 2019 to cap the population of the 184 bed Detention Center at

450, the population had risen to more than 500 at the time of the filing of this action. Compl. ¶21,

25. The overcrowding at the Detention Center has resulted in inadequate adequate health care for

inmates. Compl. ¶27, 28, 29. Inadequate medical care is common at the Detention Center which

saw at least four publicly reported deaths between August 2022 and February 2024. Compl. ¶29,

54, n.4. For instance in July 2013, just two months before Fryer’s death, a Kentucky medical

examiner determined that “medical neglect” contributed to another inmate’s death who died of

infectious endocarditis, hepatitis C, renal failure, sepsis and brain hemorrhaging after only a one

week stay at the Detention Center. Compl. ¶54, n.4. In the days before that inmate’s death, his

cell mates were captured on video exclaiming, “What’s it going to take for you all to call a f---ing

ambulance?” Compl. n. 4. 2 The cell mates were also heard stating that another inmate had died

the previous week. Id.

         Joseph Fryer’s needless death in this case was likewise a direct result of the failure of

anyone at the Detention Center to provide the necessary medical treatment to Fryer in response to

a serious and obvious medical condition. That failure to provide medical care, and Fryer’s resulting

death, directly flowed from the very policies, procedures, and customs of the Madison County



2
 The article linked in footnote 4 of the Complaint is
https://www.murrayledger.com/news/kentucky-man-neglected-left-in-filth-at-richmond-jail-
before-death-lawsuit-says/article_68d8388a-5b5f-11ef-99f8-5bd6828e5174.html
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Fiscal Court for which it has been publicly condemned by two of its own members, including

Defendant Tussey, who has now found himself sued for carrying out the very unconstitutional

policies he has publicly criticized.

                                            ARGUMENT

       Madison County Fiscal Court’s Motion to Dismiss the Plaintiff’s 42 U.S.C. § 1983 claim

against it is due to be denied. The Complaint, with all factual allegations taken as true and all

reasonable inferences drawn in favor of Fryer’s Estate, plausibly alleges a §1983 cause of action

against Madison Count under the theory of liability established by Monell v. Dep’t of Soc. Servs.

of City of New York, 436 U.S. 658, 694 (1978). Therefore, the motion is due to be denied.

       Alternatively, if this Court finds that the Complaint does not currently adequately alleged

a §1983 claim against Madison County, Plaintiff respectfully requests that this Court grant Plaintiff

give to amend the Complaint.

I. STANDARD OF REVIEW

       Fed. Rule Civ. P. 8(a)(2) requires only “a short and plain statement of the claim showing

that the pleader is entitled to relief.” As the Supreme Court noted in Erickson v. Pardus, 551 U.S.

89 (2007), “Specific facts are not necessary; the statement need only ‘give the defendant fair notice

of what the ... claim is and the grounds upon which it rests.’” 551 U.S. at 93 (quoting Bell Atlantic

Corp. v. Twombly, 550 U.S. 544, 555 (2007). Furthermore, “[o]n a Rule 12(b)(6) motion, we

construe the complaint in the light most favorable to the plaintiff, accept its allegations as true, and

draw all reasonable inferences in favor of the pleader.” Evans–Marshall v. Bd. Of Educ. Of the

Tipp City Exempted Vill. Sch. Dist., 428 F.3d 223, 228 (6th Cir. 2005). Nonetheless, “a complaint

must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)(quoting Twombly, 550 U.S. at 570).


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“Determining whether a complaint states a plausible claim for relief [is] ... a context-specific task

that requires the reviewing court to draw on its judicial experience and common sense.” Iqbal, 556

U.S. at 679. “A claim has facial plausibility when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Id. at 678. The standard calls for only “enough facts to raise a reasonable expectation that

discovery will reveal evidence” of the claim. Twombly, 550 U.S. at 556 (emphasis added).

       The Sixth Circuit has emphasized,

       Claims under 42 U.S.C. § 1983 are not subject to heightened pleading standards.
       Therefore, a court may dismiss a complaint only if it is clear that no relief could be
       granted under any set of facts that could be proved consistent with the allegations.
       If a pleading fails to specify the allegations in a manner that provides sufficient
       notice, a defendant can move for a more definite statement under Rule 12(e) before
       responding. Claims lacking factual merit are properly dealt with through summary
       judgment under Rule 56. Id. This is because, under the notice pleading standard of
       the Federal Rules, courts are reluctant to dismiss colorable claims which have not
       had the benefit of factual discovery.

Evans–Marshall v. Bd. Of Educ. Of the Tipp City Exempted Vill. Sch. Dist., 428 F.3d 223, 228 (6th

Cir. 2005)(internal citations and quotations omitted).

II. THIS COURT CAN CONSIDER THE MATERIALS REFERENCED AND LINKED
IN THE COMPLAINT IN RULING ON THE MOTION TO DISMISS

       As an initial matter, Plaintiff notes that the matters contained in the articles referenced and

linked in the Complaint are properly before this Court in considering Defendant Madison County

Fiscal Court’s Motion to dismiss. The court in McLaughlin v. CNX Gas Co., LLC, 639 Fed. Appx.

296 (6th Cir. 2016) noted,

       We may also consider documents that a defendant attaches to a motion if the
       documents “are referred to in the plaintiff’s complaint and are central to her claims”
       without converting the motion to one for summary judgment. Likewise, we may
       consider matters of public record in deciding a motion for judgment on the
       pleadings.

639 Fed. Appx. at 298-299 (internal citations omitted).

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       The court in Plassman v. City of Wauseon, 85 F.3d 629 (6th Cir. 1996) further noted,

“[D]ocuments whose contents are alleged in a complaint and whose authenticity is uncontested,

but that are not physically attached to the pleading, may be considered in ruling on a Rule

12(b)(6) motion to dismiss.” (citing Branch v. Tunnell, 14 F.3d 449, 454 (9th Cir.1994)).

       Court have also noted that in ruling on a motion to dismiss, the court can properly

consider “materials that are necessarily embraced by the pleadings.” Porous Media Corp. v. Pall

Corp., 186 F.3d 1077, 1079 (8th Cir. 1999)(internal citations and quotation marks omitted). In

Watson v. Olson, No. 6:23-cv-03004-RK, 2023 WL 11756893 at *2 (W.D. Mo. 2023), the court

found that a video “to which Plaintiff specifically refers in his complaint with time-stamped

references and a URL link – is embraced by the complaint and may be properly considered in

ruling on Defendants’ motion to dismiss.”

       In the present case, the Plaintiff’s Complaint quotes from, refers to, and provides a URL

link to an 2019 news report where Defendant Steve Tussey, the County Jailer, and John Tudor, a

former member of the Defendant Madison County Fiscal Court publicly condemned the unsafe

and “dangerous” conditions at the Detention Center and called on Madison County to take steps

to alleviate the overcrowding causing those conditions. Compl. ¶24, n. 1.

       The Complaint also refers to and provides a link to a news report providing the details of

the death of another inmate at the Detention Center during the same two month time period as

Fryer’s death where that inmate was similarly denied medical treatment. Compl. ¶54, n.4.

       The contents of those news reports are “referred to in the plaintiff’s complaint,” and are

central to the Plaintiff’s claim that the policies and customs of Madison County resulted in the

denial of medical care which caused the Plaintiff’s death. McLaughlin, 639 Fed. Appx. at 298-

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 Therefore, those materials can be properly considered by this Court in considering Defendant

Madison County’s Motion to Dismiss.


III. THE PLAINTIFF HAS PLAUSIBLY ALLEGED A 42 U.S.C. § 1983 CLAIM AGAINST
MADISON COUNTY

       The constitutional right of inmates to adequate medical care has been long established. In

Estelle v. Gamble, 429 U.S. 97 (1976), the Court held,

       We therefore conclude that deliberate indifference to serious medical needs of
       prisoners constitutes the “unnecessary and wanton infliction of pain,” … proscribed
       by the Eighth Amendment. This is true whether the indifference is manifested by
       prison doctors in their response to the prisoner’s needs or by prison guards in
       intentionally denying or delaying access to medical care or intentionally
       interfering with the treatment once prescribed. Regardless of how evidenced,
       deliberate indifference to a prisoner’s serious illness or injury states a cause of
       action under s 1983.

429 U.S. at 105 (emphasis added)(internal citations omitted).

       Pre-trial detainees enjoy those same rights through the Due Process Clause of the

Fourteenth Amendment: “[T]he Supreme Court has long held that the Due Process Clause offers

protections to pretrial detainees that at least match those afforded convicted prisoners under the

Eighth Amendment.” Lawler as next friend of Lawler v. Hardeman County, Tennessee, 93 F.4th

919, 926 (6th Cir. 2024); “Pretrial detainees have a right to adequate medical care under the

Fourteenth Amendment. An officer violates that right if that officer shows deliberate indifference

to [a pretrial detainee’s] serious medical needs[.]” Hyman v. Lewis, 27 F.4th 1233, 1237 (6th Cir.

2022) (internal citations and quotation marks omitted)

       In Jones v. Kenton Cnty., Kentucky, No. 2:23-cv-164-DCR, 2024 WL 1705210 (E.D. Ky.

Apr. 19, 2024), the court noted that the Sixth Circuit had never definitively decided whether a

person incarcerated as a result of a probation violation is a pre-trial detainee entitled to adequate

medical treatment under the Fourteenth Amendment or a convicted inmate entitled to adequate

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medical treatment under the Eight Amendment. However, the court ultimately reasoned, based on

the necessary implications of several Sixth Circuit cases, that such persons should be treated as

pre-trial detainees since “the violation which led to his arrest and subsequent detention had not

been adjudicated.” 2024 WL 1705210 at 84.

       In the present case, a determination of Fryer’s status is not necessary for purposes of

deciding the present motion since the Madison County Fiscal Court does not dispute the underlying

constitution deprivation, but only whether it can be held responsible for the deprivation under a

Monell theory of liability.

       Turning now to the analysis necessary to determine whether the Plaintiff has plausibly

alleged a 42 U.S.C. § 1983 claim against Madison County under a Monell theory of liability, “a

plaintiff must adequately plead (1) that a violation of a federal right took place, (2) that the

defendants acted under color of state law, and (3) that a municipality’s policy or custom caused

that violation to happen.” Bright v. Gallia County, 753 F.3d 639, 660 (6th Cir. 2014).

       As noted above, Madison County does not dispute whether Fryer suffered a violation of a

federal right for purposes of their motion to dismiss. Nor is there any dispute as to whether those

who caused the constitutional violation were acting under color of state law. Therefore, the only

issue before this Court at this time is whether a “policy or custom” of Madison County caused that

violation. In Lipman v. Budish, 974 F.3d 726 (6th Cir. 2020), the court noted,

       Under Monell and its progeny, there are four ways a plaintiff can demonstrate a
       policy or custom that could allow for municipal liability:

       A plaintiff can make a showing of an illegal policy or custom by demonstrating
       one of the following: (1) the existence of an illegal official policy or legislative
       enactment; (2) that an official with final decision making authority ratified illegal
       actions; (3) the existence of a policy of inadequate training or supervision; or (4)
       the existence of a custom of tolerance or acquiescence of federal rights violations.

974 F.3d at 747 (quoting Burgess v. Fischer, 735 F.3d 462, 478 (6th Cir. 2013).

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       “‘[A]n act performed pursuant to a ‘custom’ that has not been formally approved by an

appropriate decisionmaker may fairly subject a municipality to liability on the theory that the

relevant practice is so widespread as to have the force of law.’” Id. at 748 (quoting Bd. of Cty.

Comm’rs v. Brown, 520 U.S. 397, 403–04 (1997)). “Thus, while policies are created through the

official acts of the municipality’s ultimate decision-makers, a custom can be informal but must be

so extensive as to still be attributable to the municipality as a whole.” Id. “[T]he mere allegation

of a single act of unconstitutional conduct by a municipal employee will not support the inference

that such conduct was pursuant to official policies. On the other hand, where the plaintiff alleges

a pattern or a series of incidents of unconstitutional conduct, then the courts have found an

allegation of policy sufficient to withstand a dismissal motion.” Powe v. City of Chicago, 664,

650 F.2d 639 (7th Cir. 1981)(emphasis added).

       In Moderwell v. Cuyahoga County, Ohio, 997 F.3d 653 (6th Cir. 2021) the court found that

the estate of a pretrial detainee who committed suicide in county jail plausibly alleged a claim

against the Executive Defendants in the case under a Monell theory of liability. The court noted

that the Amended Complaint alleged that the Executive Defendants “knew of a custom, propensity,

and pattern” of prison officials “failing and/or refusing to provide prompt and competent access to

and delivery of medical and mental health assessment, evaluation, care, intervention, referral, and

treatment, to detainees.” 997 F.3d at 664. In finding that this was sufficient to survive a motion

to dismiss, the court reasoned, “At summary judgment, Plaintiff’s burden will be to present facts

showing that the Executive Defendants knew about the unconstitutional conduct and did more than

play a passive role in the alleged violations or show mere tacit approval of the goings on.” … But

this burden is not on Plaintiff at the pleading stage.” Id. at 665-665 (internal citations and

quotations omitted)(emphasis added).


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       In Farr v. Centurion of Tenn., LLC, No. 17-5482, 2018 WL 5621612 (6th Cir. June 5,

2018), the Sixth Circuit reversed a dismissal of an inmate’s §1983 claim related to the inadequate

medical care he was receiving while incarcerated. The complaint alleged that the defendants failed

to provide medical care “mostly because of the cost, but also because they don’t care about

providing the needed care to inmates” and that defendants “want to save all the dollars they can.”

2018 WL 5621612 at *2. In support of this contention, the defendant sets out factual allegations

concerning both the care he received and the care he requested but was denied during his

incarceration.   The Sixth Circuit found this complaint “sufficiently alleged that his Eighth

Amendment rights were violated by [defendant’] policy of providing less than adequate medical

care to save money” which was then supported by his factual allegations of the inadequate health

care he received. 2018 WL 5621612 at *3.

       The court in Love v. Franklin Cty., Ky., 376 F. Supp. 3d 740 (E.D. Ky. 2019) similarly

denied Franklin County’s motion to dismiss an inmate’s §1983 claim based on inadequate medical

care she received at the Franklin County Regional Jail. In that case, the inmate was required to

give birth while incarcerated with no medical assistance. The plaintiff asserted a claim against

Franklin County under a theory of Monell liability among her other claims. In denying Franklin

County’s motion to dismiss, the court noted,

       The amended complaint alleges that Franklin County and Defendant Rogers failed
       to adequately train, supervise, or discipline their employees. Specifically, Love
       alleges the Defendants were not trained on how to respond to medical emergencies
       among inmates. … Further, it alleges that Franklin County and Defendant Rogers’s
       failure to train was so pronounced that it “amounted to deliberate indifference that
       inaction would obviously result in the violation of the right to medical care or
       attention to medical needs.”

376 F. Supp. 3d at 749.


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       Whether it’s true training at FCRJ was really so inadequate that “inaction would
       obviously result” will certainly come to light in discovery or at trial. At this stage,
       Love is not required to prove her claim, only plead it. The Court finds that she has
       done so sufficiently enough to survive a motion to dismiss.

Id. (emphasis added).

       The court in Johnson v. Wellpath/CSS, No. 3:21-CV-00484-JHM, 2023 WL 4240756

(W.D. Ky. June 28, 2023) the court rejected the defendant’s argument that an inmate had failed to

identify any policy or custom of the defendant that caused his injury for purposes of Monell.

       Here, contrary to Defendants’ argument, Plaintiff appears to allege that Wellpath
       had a policy, custom, or practice of not providing inmates medication, that
       Wellpath continued to permit its employees to withhold medication throughout
       Plaintiff’s incarceration at KSR, and Plaintiff’s physical and mental pain and
       suffering were directly linked to his failure to obtain his diabetes medication, along
       with other medications. Construing the complaint in the light most favorable to
       Plaintiff, as the Court is required to do at the pleadings stage, … the Court finds
       that Plaintiff has sufficiently alleged a policy, custom, or practice on the part of
       Wellpath and will deny the motion to dismiss on this basis.

2023 WL 4240756 at *3 (emphasis added).

       Similarly, in Glass v. Franklin Cnty., No. 3:19-cv-00051-GFVT, 2020 WL 3086602 (E.D.

Ky. June 10, 2020), the court found that the plaintiff plausibly alleged a §1983 claim against

Franklin County under a Monell theory of liability where a pretrial detainee died in the Franklin

County Regional Jail from complications relating to drug withdrawal. The complaint alleged that

Franklin County was put on notice as to their deputy jailers’ ignorance of and failure to follow the

Jail’s medical emergency services policy for inmates experiencing withdrawal in an earlier case

where one other inmate had died under similar circumstances. The complaint alleged that plaintiff

“believes and, after reasonable discovery, will show that Dylan’s treatment by Defendants was

the result of policies, customs and practices of Franklin County.” 2020 WL 3086602 at 5

(emphasis added). The court concluded, “Here, Ms. Glass has sufficiently pled constitutional

violations on the party of the Deputy Jailers and Defendant Rogers. Her complaint further alleges

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that Franklin County itself has a policy of leaving constitutional abuses unchecked in its county

jail. The Court finds that Ms. Glass’s complaint states a claim against Franklin County, and that

dismissal at this stage is not appropriate.” 2020 WL 3086602 at 5 (emphasis added).

       Furthermore, courts have also found that in order to survive a motion to dismiss a claim

based on Monell, the policy or custom in question need not be explicitly stated in the complaint as

long as the complaint alleges facts from which such policy or custom can be inferred. In Powe v.

City of Chicago, 664 F.2d 639, 650 (7th Cir. 1981), the court explained, “Under Monell, the policy

of the municipality is not to be examined, in a vacuum, for unconstitutionality.” The court

reasoned,

       Thus, that Powe’s complaint does not point to a specific, articulated policy of the
       city or the county is not fatal to his claim. His complaint will withstand dismissal
       if the facts alleged, together with reasonable inferences to be drawn from them,
       could lead a reasonable factfinder to conclude that the actions of the county and
       city employees, by which Powe was unconstitutionally deprived of his liberty, were
       the product of some policy or custom of the municipal entities.

Id. (emphasis added).

       Likewise, in Milby v. Underwood, 713 F. Supp. 3d 383 (W.D. Ky. 2024), the court found

that the allegations of the complaint were sufficient to impose liability under Monell

notwithstanding that although the “complaint alleges over and over that there is a policy or custom

that led to inadequate medical care, which subsequently contributed to Milby’s death” “the

complaint never says exactly what WKCH’s policy was.” 713 F. Supp. 3d at 390. The court noted

that it was “required not only to presume all alleged facts are true, but also to draw all reasonable

inferences in favor of Plaintiffs.” Id. at 391. The court found, “While the complaint does not

identify a specific source of a policy or custom designed by WKCH that contributed to Milby’s

death, it does allege facts that allow the Court to reasonably infer that one existed.” Id. at 390.




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       Applying the above authorities to the present case, Fryer’s Estate has plausibly alleged a

claim against Madison County under a Monell theory of liability. The complaint alleges, with

regard to all Defendants, including Madison County: “Defendants were deliberately indifferent to,

and willfully ignored, the serious medical needs of Decedent, as described herein, by failing to

establish, monitor, and/or enforce policy directives and operational procedures to ensure that

inmates at MCDC receive prompt and reasonable treatment for their medical needs.” Compl. ¶107.

The complaint alleges with regard to all supervisory Defendants, including Madison County:

“Defendant supervisors likewise exhibited supervisory indifference or tacit authorization of the

misconduct of subordinates and the constitutional injuries committed by said subordinates.”

Compl. ¶108. “Defendant supervisors had actual or constructive knowledge that their subordinates

were engaged in conduct that posed a pervasive and unreasonable risk of constitutional injury and

he Defendant supervisors’ response to said knowledge was so inadequate as to show deliberate

indifference or tacit authorization of these constitutional injuries.” Compl. ¶109.

       With regard to Madison County in particular the Complaint alleges: “Madison County

maintained policies, procedures, or customs that resulted in the deprivation of adequate medical

care to inmates at MCDC.” Compl. ¶11. “Madison County has a policy or custom of continuing

to maintain MCDC in an overcrowded condition.” Compl. ¶28. “Madison County has a policy or

custom of failing to provide adequate medical care to inmates.” Compl. ¶29. “Madison County has

a policy or custom of failing to provide adequate medical care to inmates in order to save on

medical costs. Compl. ¶30. “Madison County deprived Decedent of his Eighth Amendment rights

by and through its official policies or customs as described herein.” Compl. ¶111. “Madison

County deprived Decedent of his Fourteenth Amendment rights by and through its official policies

or customs as previously described herein.” Compl. ¶125.


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       Fryer’s Estate has further supported those allegations with specific facts demonstrating not

only the two day long denial of medical attention which resulted in Fryer’s death, but also the

death of another inmate two months earlier whose death was determined by the Kentucky medical

examiner to be the result of “medical neglect.” Similar to Fryer’s situation during which his

obvious medical needs were ignored for two days, this other inmate died when his medical needs

went ignored for one week. The same news report which detailed the neglect suffered by that

inmate also noted that there had been at least four publicly reported deaths between August 2022

and February 2024 at the Madison County Detention Center.

       More tellingly, one of the very Defendants in this action, County Jailer Steve Tussey, as

well as John Tudor, a member of the Defendant Madison County Fiscal Court, have spoken out

publicly about the constitutionally deficient conditions at the Detention Center, and they placed

the blame squarely on the shoulders of Madison County. In 2019 Defendant Tussey warned that

the overcrowding at the Detention Center was “too much,” and the facility was not safe. In the

same report former Fiscal Court member John Tudor similarly noted, “We are to the point it is

dangerous in the jail we are going to have to do something. Almost everyone I talk to says its time

to move forward.” At that time the 184 bed Detention Center housed 413 inmates, and the ratio

of inmates to deputies was 50-1. Instead of responding to the petitions of officials such as Tussey

and Tudor to address the problem, Madison County has allowed the situation to worsen, with the

current number of average daily inmates exceeding 500.

       Defendant Madison County argues “overcrowding is not, in itself, a constitutional

violation,” citing Agramonte v. Shartle, 491 Fed. App. 557, 560 (6th Cir. 2012) for that

proposition. However, what the Sixth Circuit actually said in Agramonte is

       Although the FCI Elkton inmates may have been inconvenienced by the increased
       population, overcrowding is not, in itself, a constitutional violation, and the

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       plaintiffs have not alleged that the allegedly overcrowded conditions resulted in
       an unconstitutional denial of such basic needs as food, shelter, or sanitation.

491 Fed. App. At 560 (emphasis added).

       In the present case, by contrast, that is precisely what Fryer’s Estate has alleged; that the

severe overcrowding which Defendant Tussey and former Fiscal Court member Tudor publicly

condemned as “not safe” and “dangerous,” has resulted “in the inability to provide adequate health

care services to inmates, including Decedent.” Compl. ¶27.

       In Brown v. Plata, 563 U.S. 493 (2011), the Supreme Court discussed at length the

necessary correlation between “exceptional” overcrowding, and the denial of adequate medical

care to inmates. There, the Supreme Court found that “[t]he degree of overcrowding in California’s

prisons is exceptional” where the prison population there was merely “almost double” the amount

the prisons were designed to house.” 563 U.S. at 502. The Court found, “Crowding also creates

unsafe and unsanitary living conditions that hamper effective delivery of medical and mental

health care.” Id. at 519 (emphasis added). The court explained, “On any given day, prisoners in

the general prison population may become ill, thus entering the plaintiff class; and overcrowding

may prevent immediate medical attention necessary to avoid suffering, death, or spread of

disease.” Id. at 520 (emphasis added). The Court quoted a number of high ranking corrections

officials across several states who identified overcrowding as the primary impediment to providing

inmates with constitutionally adequate healthcare: “[C]rowding ‘makes it virtually impossible for

the organization to develop, much less implement, a plan to provide prisoners with adequate care.’”

Id. at 521; “‘[Overcrowding is the primary cause of the medical and mental health care

violations.’” Id.; “[O]vercrowding is ‘overwhelming the system both in terms of sheer numbers,

in terms of the space available, in terms of providing healthcare.”” Id. at 522; “‘[T]he biggest




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inhibiting factor right now in California being able to deliver appropriate mental health and

medical care is the severe overcrowding.’” Id.

       Of course the Plaintiff in the present case, at the pleading stage, has not even had the benefit

of discovery, much less the kind of expert testimony set out in Brown v. Plata, but she has alleged

“enough facts to raise a reasonable expectation that discovery will reveal evidence” of the claim.

Twombly, 550 U.S. at 556. The Complaint alleges overcrowding that far exceeds what the

Supreme Court in Brown called “exceptional” where the number of inmates was merely “almost

double” the capacity of the prisons. 563 U.S. at 50. In the present case, the 184 bed Madison

County Detention Center currently houses a daily average of more than 500 inmates. That is very

nearly triple the capacity of the facility. The Complaint also alleges that Fryer was consistently

denied medical care for his serious medical condition over a two day period. This was not simply

one detention center official on one occasion violating Fryer’s constitutional rights. This was

every detention center official failing to respond to Fryer’s obvious need for medical care as the

various employees changed shifts over a two day period. The Complaint also embraces a public

report of another inmate during this same time frame likewise being consistently denied medical

care for his serious condition for a full week, which likewise resulted in his death. The Complaint

further embraces public statements made by Defendant Tussey and former fiscal member Tudor

which acknowledge the “dangerous” and unsafe conditions of the Detention Center and place the

blame for that squarely on Madison County. This is more than enough to plausibly allege a claim

against Madison County under a Monell theory of liability.

IV. ALTERNATIVELY, PLAINTIFF SHOULD BE GIVEN LEAVE TO AMEND THE
COMPLAINT

       While Plaintiff contends that the Complaint, as currently drafted, plausibly alleges a §1983

claim against Madison County under a Monell theory of liability, Plaintiff would alternatively

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request that this Court grant the Plaintiff leave to amend if this Court finds that the Motion to

Dismiss as to Madison County is due to be granted. “Federal Rule Civil Procedure 15(a) provides

that leave to amend a pleading should be ‘freely given when justice so requires.’ Furthermore, the

thrust of Rule 15 is to reinforce the principle that cases ‘should be tried on their merits rather than

the technicalities of pleadings.’” Moore v. City of Paducah, 790 F.2d 557, 559 (6th Cir.

1986)(quoting Tefft v. Seward, 689 F.2d 637, 639 (6th Cir. 1982).

       Plaintiff has not previously amended her Complaint in this case, and this pleading has been

filed within 21 days of the filing of the Motion to Dismiss. Therefore, if this Court finds that

Madison County’s Motion to Dismiss is due to be granted, Plaintiff would respectfully request

leave to amend.

                                          CONCLUSION

       For the above stated reasons, Plaintiff respectfully requests that this Honorable Court

DENY the Motion to Dismiss filed by Defendant Madison County Fiscal Court. Alternatively,

Plaintiff requests leave to amend the Complaint.

                                                          Respectfully submitted,

                                                          LAW OFFICE OF JEREMY A. BARTLEY


                                                          /s/ Jeremy A. Bartley
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on October 29, 2024, a true and correct copy of the foregoing was

filed electronically. Notice of this filing will be sent to the following parties by operation of the

Court’s CM/ECF System:

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